                                                          FILED: May 13, 2025

                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT

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                                        No. 25-1153
                                   (8:25-cv-00201-DLB)
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CASA, INC.; ASYLUM SEEKER ADVOCACY PROJECT, INC.; MARIBEL,
Individually and as next friend to her future child, c/o CASA, Inc.; JUANA,
Individually and as next friend to her future child, c/o CASA, Inc.; TRINIDAD
GARCIA, Individually and as next friend to her future child, c/o Asylum Seeker
Advocacy Project; MONICA, Individually and as next friend to her future child,
c/o Asylum Seeker Advocacy Project; LIZA, Individually and as next friend to
her future child, c/o Institute for Constitutional Advocacy and Protection

               Plaintiffs - Appellees

v.

DONALD J. TRUMP, In his official capacity as President of the United States,
c/o Attorney General of the United States; SECRETARY OF THE UNITED
STATES DEPARTMENT OF STATE, In their official capacity; ATTORNEY
GENERAL OF THE UNITED STATES, In their official capacity; SECRETARY
OF THE UNITED STATES DEPARTMENT OF HOMELAND SECURITY, In
their official capacity, c/o Office of the General Counsel; DIRECTOR OF
UNITED STATES CITIZENSHIP AND IMMIGRATION SERVICES, In their
official capacity, c/o Office of the Chief Counsel; COMMISSIONER OF THE
SOCIAL SECURITY ADMINISTRATION, In their official capacity, c/o Office
of the Chief Counsel; UNITED STATES OF AMERICA, c/o Attorney General of
the United States

               Defendants - Appellants

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MEMBERS OF CONGRESS; THE STATE OF TENNESSEE; AMERICA'S
FUTURE; CITIZENS UNITED; CONSERVATIVE LEGAL DEFENSE AND
EDUCATION FUND; GUN OWNERS FOUNDATION; IMMIGRATION
REFORM LAW INSTITUTE; GUN OWNERS OF AMERICA, INC.; FORMER
NATIONAL SECURITY OFFICIAL JOSHUA STEINMAN; LEADERSHIP
INSTITUTE; U.S. CONSTITUTIONAL RIGHTS AND LEGAL DEFENSE
FUND

               Amici Supporting Appellants

IMMIGRATION LAW SCHOLAR KRISTIN COLLINS; IMMIGRATION LAW
SCHOLAR GERALD NEUMAN; IMMIGRATION LAW SCHOLAR RACHEL
ROSENBLOOM

               Amici Supporting Appellees

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                                   ORDER
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      Immigration Law Scholars Kristin Collins, Gerald Neuman, and Rachel

Rosenbloom have filed an amicus curiae brief with the consent of the parties.

      The court accepts the brief for filing.

      Counsel for Immigration Law Scholars Kristin Collins, Gerald Neuman, and

Rachel Rosenbloom is directed to file an appearance form within three days of the

date of this order.

                                        For the Court--By Direction

                                        /s/ Nwamaka Anowi, Clerk
